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                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC (AGT)


   This document relates to:                        DISCOVERY ORDER NO. 1: ORDER
                                                    SETTING DISCOVERY
   All Related Actions                              CONFERENCE




       A discovery conference before the undersigned is scheduled for October 21, 2022, at

10:00 a.m., via Zoom Webinar. Plaintiffs’ leadership counsel and Monsanto’s counsel must

attend and should be prepared to discuss discovery dispute procedures going forward. Anyone

who filed an opposition brief to Monsanto’s pending motion to compel at Dkt. 14964, and those

who filed the discovery letter brief at Dkt. 15534, may also participate in the conference.

       Everyone wishing to appear for the conference must email AGTCRD@cand.uscourts.gov

and identify: (1) the name of the attorney who will be participating; (2) who that attorney

represents; and (3) the docket number of the relevant discovery brief. All emails must be sent by

October 19, 2022, at 5:00 p.m.

       IT IS SO ORDERED.

Dated: October 14, 2022
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                                              ALEX G. TSE
                                              United States Magistrate Judge
